                                                                                        FILED
                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI                           SEP 2 22tl21
                                   EASTERN DNISION                                 U. S. DISTRICT COURT   r:
                                                                                 EASTERN DISTRICT OF MO
                                                                                        ST. LOUIS
 UNITED STATES OF AMERICA,                        )
                                                  )
                Plaintiff,                        )   _____________-----
                                                  )
 v.                                               )
                                                  )
                                                       4:21CR528 HEA/JMB
 BRITTISH "CIERRAH" WILLIAMS,                     )
                                                  )
                Defendant.                        )



                                          INDICTMENT

 The Grand Jury Charges:

                                COUNTS ONE THROUGH FIVE

                               (Misuse of a Social Security Number)

       On or about the dates listed below, within the Eastern District of Missouri, the defendant,

                              BRITTISH "CIERRAH" WILLIAMS,

 with the intent to deceive, and for the purpose of obtaining anything of value1 from another person

 and for any other purpose, did falsely represent a number to be the Social Security account number

, assigned by the Commissioner of Social Security to BRITTISH "CIERRAH" WILLIAMS,

 when in fact such number is not the Social Security Number assigned by the Commissioner of

 Social Security to BRITTISH "CIERRAH" WILLIAMS, to wit: the defendant represented the

 below listed Social Security Numbers to be BRITTISH "CIERRAH" WILLIAMS' for the

 purpose of obtaining loans, lines of credit, or other monies from the below named financial

 institution and creditors:




                                                  1
 COUNT . DATE                           COMPANY OR CREDITOR                       SSNUSED

 1           November 8, 2017           Heights Financial                         ***-**-0471

 2            September 20, 2017        Discover                                  ***-**-0471

 3            September 13, 2017        TD Retail Card Services                   ***-**-0471

 4           March 14, 2017             USAA Savings Bank                         ***-**-9292   ;




 5            September 6, 2017         Navy Federal Credit Union                 ***-**-0471


           All in violation of Title 42, United States Code, Section 408(a)(7)(B).

                               COUNTS SIX THROUGH NINE

                                           (Bank Fraud)

                                       INTRODUCTION

      1.   At all times relevant to the Indictment, the financial institutions listed in the tables

below in Paragraphs 3, 4, and 6 were all financial institutions within the meaning of 18 U.S.C. §

20 and were insured through the Federal Deposit Insurance Corporation.

                                THE SCHEME TO DEFRAUD

     2.    Beginning on or about March 13, 2018, in the Eastern District of Missouri, the

defendant, BRITTISH "CIERRAH" WILLIAMS, aided and abetted by individuals known and
                     '                                                        .
unknown to the Grand Jury, devised a scheme and artifice to obtain moneys, funds, and assets
                         '
owned by and under the custody and control of federally insured financial institutions by means

of false and fraudulent pretenses and representations.

                                   MANNER AND MEANS

The Scheme and artifice to defraud was in substance as follows:



                                                2
      3.     Beginning in 2018, Defendant opened bank accounts with different business names,

personal names, and Social Numbers, as listed below:

         Date              Bank             N~me and SSN Used  Business Name Used                       i,~_;

    3/13/2018          Busey Bank         BRITTISH "CIERRAH" Label Whoree
                                          WILLIAMS
                                          -3303
    9/21/2018          Busey Bank         Cierrah Williams    BWGordon LLC
                                          -3304
    5/29/2019          First Bank         BRITTISH "CIERRAH" BCW,LLC
                                          WILLIAMS
                                          -3305


      4.     It was further part of the scheme and artifice to defraud that the proceeds deposited by

Defendant on or about the dates below into these bank accounts included checks from legitimate

bank accounts, paid to the order of Defendant or one of Defendant's businesses, without the

knowledge or consent of the account owners, as listed below:

 Date of Deposit       Bank of Deposit         Victim Account Owner             Amount of Check

 5/2/2019              Busey Bank              G.G.                             $4,500.00

 5/9/2019              Busey Bank              E.C.                             $4,800.00

 5/10/2019             Busey Bank              S.B.                             $4,850.33

 7/3/2019            ·, First Bank             KC.                              $4~728.00
                                                                                  I




      5.    It was further part of the scheme and artifice to defraud that once Defendant deposited

these checks, she subsequently withdrew the proceeds in cash. When the illegitimate checks were

then returned for insufficient funds, the above-listed banks incurred a loss.




                                                  3
                                       COUNTS SIX THROUGH NINE

                                                  (Bank Fraud)

(' !         6.    On or about the dates listed below, in the Eastern District of Missouri, the defendant,   ;\''"•




                                    BRITTISH "CIERRAH" WILLIAMS,

       aided and abetted by persons known and unknown to the Grand Jury, did knowingly execute a

       scheme and artifice to obtain the money, funds, or other property owned by or under the control

       of the banks listed below, by means of material false or fraudulent pretenses, representations or

       promises, in that BRITTISH "CIERRAH" WILLIAMS did deposit fraudulent checks into these

       bank accounts, knowing that BRITTISH "CIERRAH" WILLIAMS was not a legitimate

       recipient of those funds and had no authorized or legal purpose for accepting the funds, and later

       withdrew the proceeds from these checks in cash from the Banks of Deposit:

         Count       Date of Deposit      Bank of Deposit      Victim Account Amount of Check
                                                               Owner
         6            5/2/2019           Busey Bank            G.G.           $4,500.00

        7             5/9/2019           Busey Bank           E.C.                  $5,800.00

         8           5/10/2019           Busey Bank            S.B.                 $4,850.33

        9            7/3/2019            First Bank           E.C.                  $4,728.00
                                                                                      '



             All in violation of Title 18, United States Code, Section 1344.




                                                        4
                                    COUNTS TEN THROUGH TWELVE

                                               (False Statements)

.,..         On or about the dates listed below, in-the Eastern District of Missouri, the defendant,          ~.-· !




                                    BRITTISH "CIERRAH" WILLIAMS,

       made and presented to the Internal Revenue Service a claim upon the Internal Revenue Service,

       that is, that the below listed individuals were her dependents, knowing that the claims were false

       and fraudulent in that these individuals were not her dependents:

        COUNT          TAX YEAR          .DATE OF TAX RETURN DEPENDANT(S) (STATED
                                          RECEIPT BY IRS     RELATIONSIDP)

        IO             2019               1/14/2020                           R.M. (Nephew)

        11             2018              2/5/2019                             R.M. (Nephew)

        12             2017              2/4/2018                             R.M. (Nephew)
                                                                              and K.M. (Niece) ·


             All in violation of Title 18, United States Code, Section 287.

                                 COUNTS THIRTEEN THROUGH FIFTEEN

                                                    (Wire Fraud)

                                       THE SCHEME TO DEFRAUD

             7.    The Government herein incorporates by reference Counts 13 ; through 15 of this

       Indictment.

             8. Defendant caused to be prepared and submitted to the Internal Revenue Service (IRS)

       her personal Federal income tax returns claiming refunds and tax credits in excess of or in addition

       to the allowable amounts of refunds and credits.

              9.     Defendant caused the electronic submission of her U.S. Individual Income Tax

       Returns for tax years 2013 through 2018 from the Eastern District of Missouri using TaxAct

                                                          5
software. Defendant's tax returns did not identify a preparer.

                                    MANNER AND MEANS

       10. It was part of the scheme that Defendant used the names and Social Security Numbers    [r'/




of K.M. and R.M. on Defendant's tax returns in order to claim K.M. and R.M. as dependents

during the relevant tax year(s), despite not providing for their care or expenses, in order to

fraudulently·increase the amount of the tax refund to which Defendant was entitled.

                        COUNTS TIIlRTEEN THROUGH FIFTEEN

                                              (Wire Fraud)

        11.   On or about the dates set forth below, in the Eastern District of Missouri and

elsewhere, the defendant,

                            BRITTISH "CIERRAH" WILLIAMS,

having devised and intended to devise a scheme to obtain money by means of materially false and

:fraudulent pretenses, representations and promises, for the purpose of executing the scheme

described above, and attempting to do so, caused to be transmitted by means of wire

communication in interstate commerce the signals and sounds described below for each count,

each transmission constituting a separate count:

 COUNT         TAXYEAR            DATE OF TAX RETURN DEPENDANT(S) (STATED
                                  SUBMISSION         RELATIONSIDP)

 13            2019               1/14/2020                             R.M. (Nephew)

 14            2018.        ,.
                                  2/5/2019                              R.M. (Nephew)

 15            2017               2/4/2018                              R.M. (Nephew)
                                                                        andK.M. (Niece)

      All in violation of Title 18, United States Code, Section 1343.




                                                   6
                          COUNTS SIXTEEN THROUGH EIGHTEEN

                                     (Aggravated Identity Theft)
                                        ,l



         On or about the dates listed below, within the Eastern District of Missouri, the defendant,

                                BRITTISH "CIERRAH" WILLIAMS,

 did knowingly possess, transfer, and use, without lawful authority, a means of identification of

another person, to wit, the names and Social Security Numbers of the individuals listed bel0:w,

knowing that the means of identification belonged to another actual person, during and in relation

to the commission of the felony offense of wire fraud, Title 18, United States Code, Section 1343:

  COUNT                     NAME                        DATE OF TAX RETURN FILING

  16                        K.M.andR.M.                 2018

  17                        R.M.                        2019

  18                        R.M.                        2020



       All in violation of Title 18, United States Code, Section 1028A.

                                   FORFEITURE ALLEGATION

The Grand Jury further finds by probable cause that:

        1.      Pursuant to Title 18, United States Code, Sections 981(a)(l)(C) and Title 28, United

States Code, Section 21461, upon conviction of an offense in violation of Title 18, United States

Code, Section 1344 as set forth in Counts 6 through 12, the defendant shall forfeit to the United

States of America any property, real or personal, which constitutes or is derived from proceeds

.traceable to said violation.

        2.      Subject to forfeiture is a sum of money equal to the total value of any property, real

or personal, constituting or derived from any proceeds traceable to said offenses.

        3.      If any of the property described above, as a result of any act or omission of the
                                                7
     defendant:

                    a.     cannot be located upon the exercise of due diligence;

1'                  b.     has been transferred or, sold to, or deposited with, a third party;

                    c.     has been placed beyond the jurisdiction of the court;

                    d.     has been substantially diminished in value; or

                    e.     has been commingled with other property which cannot be divided witho,ut

                           difficulty,

     the United States of America will be entitled to the forfeiture of substitute property pursuant to

     Title 21, United States Code, Section 853(p).

                                                          A TRUE BILL



                                                          FOREPERSON



     SAYLER A. FLEMING
     United States Attorney


     DIANE E.H. KLOCKE, 61670MO .
     Special Assistant United States Attorney




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